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                        IN THE UNTIED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN THE MATTER OF:                                               )
                                                                )
KARLEY KIMMEL NGUYEN                                            ) BANKRUPTCY NO: 16-67191-JRS
aka KARLEY K. NGUYEN                                             )
aka KARLEY NGUYEN,                                              )
         Debtor.                                                )
--------------------------------------------------------------------------------------------------------------------
                                                                )
AMERIHOME MORTGAGE COMPANY, LLC )
CENLAR, FSB                                                     ) CONTESTED MATTER
                                                               )
         Movant,                                                ) CHAPTER 13
                                                                )
vs.                                                             )
                                                                )
KARLEY KIMMEL NGUYEN                                            )
aka KARLEY K. NGUYEN                                           )
aka KARLEY NGUYEN,                                             )
         Respondent.                                            )

         MOTION TO REIMPOSE AUTOMATIC STAY AGAINST AMERIHOME
                 MORTGAGE COMPANY, LLC C/O CENLAR FSB

         COMES NOW, Debtor Karley Kimmel Nguyen, (“Debtor”) and files this Motion

to Reimpose Automatic Stay as to Amerihome Mortgage Company, LLC c/o Cenlar,

FSB(“Movant”).

                                                         1.

         On December 28, 2016 Movant filed the Motion for Relief From Stay (Doc. No.

22) regarding the real property located at 4435 Settles Bridge Road, Suwanee, Georgia

30024, (“Property”) and a hearing was held January 24, 2017 at 10:30 A.M. in Courtroom

1404.
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                                             2.

       The Debtor never received the Motion For Relief and Notice of Hearing. On

January 24, 2017, at the call of the calendar, Debtor Karley Kimmel Nguyen, nor her

attorney were present at the hearing on Motion For Relief


                                             3.

       On February 22, 2017 An Order was entered Granting the Motion for Relief (Doc.

No. 29)

                                             4.

       Debtor received a copy of the Order Lifting Stay on or about February 25, 2017

which was the first notice she received regarding this matter.

                                             5.

       The Motion for Relief filed on December 28, 2016 alleged that the post petition

arrears were in the amount of $6,924.77
                                             6.

       On December 28, 2016, the Debtor had the funds to pay the alleged arrears in the

amount of $6,924.77
                                             7.

       Since receiving the Order Lifting Stay, the Debtor has diligently tried to resolve

this matter.

                                             8.

       In March, 2017 The Movant initiated foreclosure proceedings set for the May 2,
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2017 foreclosure sale date.

                                              9.

       On April 26, 2017 Debtor retained attorney Schuyler Elliott for the sole purpose of

representing her in this matter.


                                             10.

       On April 26, 2017 the undersigned immediately contacted the Debtor’s Attorney,

the foreclosure law firm and the attorney representing Movant in the Motion for Relief.

                                             11.

       The Debtor’s Motion to Reimpose Stay is filed in good faith.

                                             12.

       The Debtor is ready, willing and able to pay the Movant the sums alleged in its

Motion for Relief.
                                             13.

       The Debtor respectfully requests an emergency hearing prior to the May 2, 2017

Foreclosure date.


       WHEREFORE, Debtor respectfully requests that the Court:

       (a) Grant the Motion:

       (b) Enter an Order Reimposing the Automatic Stay;
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      (c) Grant Debtor such other relief as the Court deems just and proper.

      This 26th day of April, 2017.

                                        Respectfully submitted,

                                         /s/
                                        Schuyler Elliott
                                        Attorney for Debtor
                                        Georgia Bar No. 244002
2024 Beaver Ruin Road
Norcross, Georgia 30071
(770)209-7999
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                              CERTIFICATE OF SERVICE


   I Schuyler Elliott, Attorney at Law, 2024 Beaver Ruin Road, Norcross, Georgia 30071,

certify: That I am, and at all times hereinafter mentioned, was more than 18 years of age;

That on the 26th day of April, 2017, I served a copy of the MOTION TO REIMPOSE

THE AUTOMATIC STAY AGAINST AMERIHOME MORTGAGE COMPANY, LLC

CENLAR, FSB by, unless otherwise noted, depositing a true and correct copy of each with

the United States Mail with adequate postage affixed to insure first class delivery,

addressed to:

Office of the United States Trustee
Room 362-Richard B. Russell Federal Bldg
75 Spring St., SW
Atlanta, GA 30303

Amerihome Mortgage Company, LLC
c/o Cenlar, FSB
425 Phillips Blvd.
Ewing, NJ 08618

Susan B. Shaw, Esq.
Albertelli Law
For Amerihome Mortgage Co., LLC
c/o Cenlar, FSB
100 Galleria Parkway, Suite 960
Atlanta, GA 30339
       (served via email at: sshaw@albertellilaw.com)

Eric Roach
Attorney for Standing
Chapter 13 Trustee
303 Peachtree Center Avenue
Suite 120
Atlanta, GA 30303
       (served via email at: eroach@njwtrustee.com)
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Howard J. Kent, Esq.
Attorney for Debtor
The Kent Law Firm
Suite 750
3355 Lenox Road
Atlanta, GA 30326

Karley Kimmel Nguyen
4435 Settles Bridge Road
Suwanee, GA 30024-1981

      This 26th day of April, 2017.

                                        /s/
                                       Schuyler Elliott
                                       Attorney for Debtor
                                       Ga Bar 244002
